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1.
                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                     LEXINGTON DIVISION

     JOHN DOE
                                                                Case No. 5:21-cv-00192
            Plaintiff,

     v.


     GEORGETOWN COLLEGE, et al.

            Defendants.




      PLAINTIFF’S UNOPPOSED MOTION TO AMEND THE SCHEDULING ORDER

          Plaintiff, John Doe, herein submits this Unopposed Motion for a 90-day extension of

deadlines in the above-captioned case. Plaintiff’s counsel has just returned to work substantially

full time from an extended absence due to open-heart surgery.

          A 90-day extension of the case and rescheduling of deadlines will not unfairly prejudice

the Defendants in this case.


                                                          Respectfully,

                                                          /s/ James M. Francis
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2.
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1.


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served electronically
to counsel of record via the CM-ECF system upon filing on this 20 day of May 2022.

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                                                                    /s/ James M. Francis
                                                                    James M. Francis
                                                                    Counsel for Defendants




2.
